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              IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF FLORIDA
                     JACKSONVILLE DIVISION

Danny Grigg, individually and on behalf         Case No.
of all others similarly situated,
                                                CLASS ACTION COMPLAINT
                       Plaintiff,
                                                DECLARATORY RELIEF
v.                                              REQUESTED

Fidelity National Financial, Inc., and          PERMANENT INJUNCTIVE
LoanCare, LLC,                                  RELIEF REQUESTED

                    Defendants.                 DEMAND FOR A JURY TRIAL

      Plaintiff Danny Grigg (“Plaintiff”), individually and on behalf of all others

similarly situated (the “Class” or “Class Members”), brings this Class Action

Complaint (the “Complaint”) against Defendants Fidelity National Financial, Inc.

(“Fidelity”) and LoanCare, LLC (“LoanCare”) (collectively, “Defendants”). The

allegations set forth in this Complaint are based on the personal knowledge of the

Plaintiff and upon information and belief and further investigation of counsel.

                          NATURE OF THE ACTION

     1.     Defendants are loan servicing and title companies that obtain highly

sensitive data from consumers like Plaintiff and Class Members in the course of

business. Defendants undertake a responsibility to use reasonable means in the

protection of this data. Despite this responsibility, Defendants failed to implement

and maintain reasonable data security measures. As a result, Defendants suffered

a massive data breach in November 2023 that compromised the PII of Plaintiff and

more than one-million other Class Members (the “Data Breach”).
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     2.      The personally identifiable information (“PII”) exposed or otherwise

accessed by an authorized third-party in the Data Breach included Plaintiff’s and

the Class Members’ full names, Social Security numbers, and loan numbers.

      3.     Defendants had numerous statutory, regulatory, contractual, and

common law duties and obligations, including those based on its affirmative

representations to Plaintiff and the Class, to keep their PII confidential, safe,

secure, and protected from unauthorized disclosure or access.

      4.     Plaintiff and the Class have taken reasonable steps to maintain the

confidentiality and security of their PII.

      5.     Plaintiff and the Class reasonably expected Defendants to keep their

PII confidential and securely maintained, to use this information for business

purposes only, and to make only authorized disclosures of this information.

      6.     Defendants,    however,    breached    their   numerous     duties   and

obligations by failing to implement and maintain reasonable safeguards; failing to

comply with industry-standard data security practices and federal and state laws

and regulations governing data security; failing to properly train its employees on

data security measures and protocols; and failing to timely recognize and detect

unauthorized third parties accessing its system and that substantial amounts of

data had been compromised.

      7.     In this day and age of regular and consistent data security attacks and

data breaches, in particular in the financial industries, and given the sensitivity of




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the data entrusted to Defendants, this Data Breach is particularly egregious and

foreseeable.

       8.      By implementing and maintaining reasonable safeguards and

complying with standard data security practices, Defendants could have prevented

this Data Breach.

       9.      Plaintiff and the Class are now faced with a present and imminent

lifetime risk of identity theft or fraud. These risks are made all the more

substantial, and significant because of the inclusion of their SSN and other static

PII.

       10.     PII has great value to cyber criminals, especially an individuals’ SSN.

As a direct cause of Defendants’ Data Breach, Plaintiff’s and Class Members’ PII is

in the hands of cyber-criminals and may be available for sale on the dark web for

other criminals to access and abuse at the expense of Plaintiff and Class Members.

Plaintiff and Class Members face a current and lifetime risk of identity theft or

fraud as a direct result of the Data Breach.

       11.     Plaintiff’s and Class Members’ PII was compromised due to

Defendants’ negligent and/or careless acts and omissions and the failure to protect

Plaintiff’s and Class Members’ PII. Defendant’s conduct amounts to negligence,

recklessness, and/or violates federal and state statutes and guidelines.

       12.     As a result of the Data Breach, Plaintiff and Class Members have

experienced a loss of privacy similar to that caused by a disclosure of private facts

or intrusion upon seclusion; lost time value of funds that are inaccessible due to


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the Data Breach; time and effort spent attempting to mitigate the risk of harm from

the Data Breach; lost benefit of bargain; diminished value of PII; and emotional

distress proportional to the substantial risk of harm that he faces.

      13.    Plaintiff and Class Members remain at imminent, impending, and

substantial risk for additional tangible and intangible harm as a result of the Data

Breach that has already occurred, as well as Defendants’ continued possession of

their PII.

      14.    Plaintiff seeks to remedy these harms and prevent any future data

compromise on behalf of himself and Class Members. Accordingly, Plaintiff seeks

damages, declaratory judgment, and injunctive relief through claims for

negligence, breach of implied contract, unjust enrichment, and relief under the

declaratory judgment act.

                                    PARTIES

      Plaintiff Danny Grigg

      15.    Plaintiff Danny Grigg is a natural person and citizen of North

Carolina, where he intends to remain. Plaintiff’s mortgage is held and/or serviced

by Defendants.

      Defendants

      16.    Defendant LoanCare, LLC is a leading national provider of full-service

subservicing and interim subservicing to the mortgage industry and has offered its

expertise and best practices in providing servicing solutions for others since 1991.

At the present time, LoanCare subservices over 1.2 million loans in 50 states,


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approximating $390 billion in loan balances. LoanCare, LLC, is a Virgina limited

liability company whose principal place of business is at 3673 Sentara Way,

Virginia Beach, Virginia 23452, and is authorized to transact business in Florida.

Upon information and belief, the sole member of LoanCare, LLC, is Defendant

Fidelity.

      17.    Defendant Fidelity National Financial, Inc. is a leading provider of

title insurance and transaction services to the real estate and mortgage industries.

Fidelity is the nation’s largest title insurance company through its title insurance

underwriters—Fidelity National Title, Chicago Title, Commonwealth Land Title,

Alamo Title and National Title of New York—that collectively issue more title

insurance policies than any other title company in the United States. It is a Florida

corporation whose principal place of business is at 601 Riverside Ave., Building 5,

Jacksonville, Florida 32204.

      18.    Defendants collected and continues to collect the PII of its customers

and clients throughout its usual course of business operations.

      19.    By obtaining, collecting, using, and deriving benefit from Plaintiff’s

and Class’s PII, Defendants assumed legal and equitable duties to those persons,

and knew or should have known that it was responsible for protecting Plaintiff’s

and Class’s PII from unauthorized disclosure and/or criminal cyber activity.

                        JURISDICTION AND VENUE

      20.    This Court has subject matter jurisdiction over this action under the

Class Action Fairness Act, 28 U.S.C. § 1332(d), et seq. The amount in controversy


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exceeds $5 million, exclusive of interest and costs. There are more than 100

members in the proposed Class, and at least one member of the Class (including

Plaintiff) is a citizen of a state different from Defendants. Thus, minimal diversity

exists under 28 U.S.C. § 1332(d)(2)(A).

      21.    This Court has personal jurisdiction over Defendants because

Defendant Fidelity’s principal places of business is located within this District and

it conducts substantial business in this district, and because it is the sole member

of Defendant LoanCare, which is also authorized to transact business in Florida

and actually conducts substantial business in this district.

      22.    Venue is proper in this Court under 28 U.S.C. § 1391, because a

substantial part of the events or omissions giving rise to these claims occurred in,

were directed to, and/or emanated from this District, and Defendant Fidelity

resides within this judicial district.

                            FACTUAL ALLEGATIONS

      Background

      23.    Defendant LoanCare, LLC, performs or performed loan subservicing

functions for Plaintiff’s and Class Members’ mortgage loan servicers. Upon

information and belief, Defendant Fidelity is the sole member and operator of

Defendant Loan Care, LLC.

      24.    In the ordinary course of its business practices, Defendants store,

maintains, and uses an individuals’ PII, which includes Plaintiff and Class




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Members’, including but not limited to information such as: full names; Addresses;

Social Security numbers; and loan numbers.

        The Data Breach

        25.    On or about November 19, 2023, an unauthorized actor gained access

to the Defendants’ network and computer systems and obtained unauthorized

access to Defendants’ files.1 (the “Data Breach”).

        26.    At least 1,316,938 individuals’ information was affected by the Data

Breach.2 The information exposed or otherwise accessed by an authorized third-

party in the Data Breach included Plaintiff’s and the Class Members’ name, Social

Security number, and loan number.3 Collectively, the information described in this

paragraph shall be referred to as “PII” throughout this Complaint.

        27.    On December 13, LoanCare announced the following Data Breach

(“Notice of Data Breach”):

        What Happened?

        On or about November 19, 2023, Loan Care, LLC (“LoanCare”), which
        performs or has performed loan subservicing functions for your mortgage
        loan servicer, became aware of unauthorized access to certain systems within
        its parent’s, Fidelity National Financial, Inc. (“FNF”), information technology
        network. Upon becoming aware of the incident, FNF commenced an
        investigation with the assistance of third-party experts, notified certain law
        enforcement and governmental authorities, and began taking measures to
        assess and contain the incident. The incident has been contained. The
        investigation has determined that an unauthorized third party exfiltrated
        data from certain FNF systems. As part of the review of the potentially

1 See https://apps.web.maine.gov/online/aeviewer/ME/40/25bd9abc-608b-

4a8a-8f35-ba5413b9399f.shtml (last visited: December 26, 2023).
2 Id.

3 Id.



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        impacted data, LoanCare identified that some of your personal information
        may have been among that data. It is important to note that we have not
        identified any fraudulent use of your personal information as a result of this
        incident.

        What Information Was Involved?

        Based on our investigation, we understand that your Name, Address, Social
        Security Number, and Loan Number may have been obtained by the
        unauthorized third party.

        28.    On or about December 19, 2023, LoanCare notified affected

individuals that their PII was impacted in the Data Breach. 4

        Defendants Were Aware of the Data Breach Risks

        29.    In light of recent high-profile data breaches at other companies in the

financial industry, Defendants knew or should have known that their electronic

records would be targeted by cybercriminals.

        30.    Cyberattacks have become so notorious that the FBI and U.S. Secret

Service have issued a warning to potential targets so they are aware of, and

prepared for, a potential attack. As one report explained, “[e]ntities like smaller

municipalities and hospitals are attractive. . . because they often have lesser IT

defenses and a high incentive to regain access to their data quickly.” 5




4 Id.

5FBI,   Secret Service Warn of Targeted, Law360 (Nov. 18, 2019),
https://www.law360.com/articles/1220974/fbi-secret-service-warn-of-targeted-
ransomware (last visited June 23, 2021).

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      31.   Therefore, the increase in such attacks, and attendant risk of future

attacks, was widely known to the public and to anyone in Defendants’ industry,

including Defendants.

      32.   Defendants had and continue to have obligations created by implied

contract, industry standards, common law, and representations made to Plaintiff

and the Class, to keep their PII private and confidential and to protect it from

unauthorized access, disclosure or exfiltration.

      33.   Plaintiff and the Class provided their PII to Defendants with the

reasonable expectation and mutual understanding that Defendants would comply

with their obligations to employ reasonable care to keep such information

confidential and secure from unauthorized access.

      34.   Defendants’ data security obligations were particularly important

given the substantial increase in cyber-attacks and data breaches in the banking,

credit, and financial service industries preceding the date of the Data Breach.

      35.   Indeed, data breaches, such as the one experienced by Defendants,

have become so notorious that the Federal Bureau of Investigation (“FBI”) and

U.S. Secret Service have issued a warning to potential targets so they are aware of,

and prepared for, a potential attack. Therefore, the increase in such attacks, and

attendant risk of future attacks, was widely known and foreseeable to the public

and to anyone in Defendants’ industry, including Defendants.

      36.   According to the Federal Trade Commission (“FTC”), identity theft

wreaks havoc on consumers’ finances, credit history, and reputation and can take


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substantial time, money, and patience to resolve.6 Identity thieves use the stolen

PII for a variety of crimes, including but not limited to, credit card fraud, telephone

or utilities fraud, and bank and finance fraud. 7

      37.    The PII of Plaintiff and the Class were access and taken by cyber

criminals for the very purpose of engaging in illegal and unethical conduct,

including crimes involving identity theft, fraud, or to otherwise profit by selling

their data to other criminals who purchase PII for that purpose. The fraudulent

activity resulting from the Data Breach may not come to light for years.

      38.    Defendants knew, or should have known, the importance of

safeguarding the PII of Plaintiff and the Class, including their SSN, driver’s license

numbers and/or state identification numbers, and of the foreseeable consequences

that would occur if Defendants’ data security systems were breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class as a

result of a breach.




6 See Taking Charge, What to Do If Your Identity is Stolen, FTC, 3 (Apr. 2013),
https://www.myoccu.org/sites/default/files/pdf/taking-charge-1.pdf (last visited
Nov. 24, 2021).
7 Id. The FTC defines identity theft as “a fraud committed or attempted using the

identifying information of another person without authority.” 16 CFR § 603.2. The
FTC describes “identifying information” as “any name or number that may be used,
alone or in conjunction with any other information, to identify a specific person,”
including, among other things, “[n]ame, social security number, date of birth,
official State or government issued driver's license or identification number, alien
registration number, government passport number, employer or taxpayer
identification number.” Id.

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      39.    Plaintiff and the Class now face years of constant monitoring and

surveillance of their financial and personal records. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII as a

direct result of the Data Breach.

      40.    The injuries to Plaintiff and Class were directly and proximately

caused by Defendants’ own failure to install, implement or maintain adequate data

security measures, software and other industry best practices for safeguarding the

PII of Plaintiff and the Class.

      PII is Valuable Intangible Property

      41.    The PII at issue in this case is valuable intangible property. According

to Experian, a credit-monitoring service, stolen PII can be worth up to $1,000.00

depending on the type of information obtained. Other reports show that personal

information can be sold at a price ranging from $40 to $200.8 Experian reports

that a stolen credit or debit card number can sell for $5 to $110 on the dark web. 9

      42.    The information compromised in this Data Breach is impossible to

“close” and difficult, if not impossible, to change. This data demands a much higher

price on the black market. Martin Walter, senior director at cybersecurity firm


8 Your personal data is for sale on the dark web. Here’s how much it costs,

Digital Trends, Oct. 16, 2019, available at
https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-
web-how-much-it-costs/ (last visited Oct. 27, 2021).
9 Here’s How Much Your Personal Information Is Selling for on the Dark Web,

Experian, Dec. 6, 2017, available at https://www.experian.com/blogs/ask-
experian/heres-how-much-your-personal-information-is-selling-for-on-the-
dark-web/ (last visited Oct. 27, 2021).

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RedSeal, explained, “Compared to credit card information, personally identifiable

information and Social Security numbers are worth more than 10x on the black

market.”10

      43.    An active and robust legitimate marketplace for PII also exists. In

2019, the data brokering industry was worth roughly $200 billion.11 In fact, the

data marketplace is so sophisticated that consumers can actually sell their non-

public information directly to a data broker who in turn aggregates the information

and provides it to marketers or app developers.12 Consumers who agree to provide

their web browsing history to the Nielsen Corporation can receive up to $50.00 a

year.13

      44.    The integrity of PII gives it its value because PII is used to secure

loans, open lines of credit, verify identities, and unlock government benefits. When

PII is used to commit fraud, these simple everyday necessities become more




10 Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen

Credit Card Numbers, IT World, (Feb. 6, 2015), available at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-
stolen-sells-for-10xprice-of-stolen-credit-card-numbers.html (last visited Dec. 13,
2023).
11 Data Brokers, Los Angeles Times, Nov. 5, 2019, available at

https://www.latimes.com/business/story/2019-11-05/column-data-brokers
12 See, e.g., https://datacoup.com/ (last visited Dec. 13, 2023).

13 Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at

https://computermobilepanel.nielsen.com/ui/US/en/faqen.html

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difficult, if not impossible, due to lowered credit scores and tarnished credit

histories from credit fraud and identity theft. 14

      45.    As a result of the Data Breach, Plaintiff’s and Class Members’ PII,

which has an inherent market value in both legitimate and dark markets, has been

damaged and diminished by its acquisition by cybercriminals and is likely already

available on the dark web due to its high value for threat actors. However, this

transfer of value occurred without any consideration paid to Plaintiff or Class

Members for their property, resulting in an economic loss.

      Defendants Failed to Comply with FTC Guidelines

      46.    The FTC has promulgated numerous guides for businesses which

highlight the importance of implementing reasonable and adequate data security

practices. According to the FTC, the need for data security should be factored into

all business decision-making.

      47.    In 2022, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established cyber-security guidelines

for businesses. The guidelines note that businesses should protect the personal

customer information that they keep; properly dispose of personal information

that is no longer needed; encrypt information stored on computer networks;

understand their networks’ vulnerabilities; and implement policies to correct any

security problems. The guidelines also recommend that businesses use an



14 https://lifelock.norton.com/learn/identity-theft-resources/lasting-effects-of-

identity-theft (last visited Dec. 13, 2023).

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intrusion detection system to expose a breach as soon as it occurs; monitor all

incoming traffic for activity indicating someone is attempting to hack the system;

watch for large amounts of data being transmitted from the system; and have a

response plan ready in the event of a breach.15

      48.    The FTC further recommends that companies not maintain PII longer

than is needed for authorization of a transaction; limit access to sensitive data;

require complex passwords to be used on networks; use industry-tested methods

for security; monitor for suspicious activity on the network; and verify that third-

party service providers have implemented reasonable security measures.

      49.    The FTC has brought enforcement actions against businesses for

failing to protect consumer data adequately and reasonably, treating the failure to

employ reasonable and appropriate measures to protect against unauthorized

access to confidential consumer data as an unfair act or practice prohibited by

Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. Orders

resulting from these actions further clarify the measures businesses must take to

meet their data security obligations.

      50.    Defendants failed to properly implement basic data security practices,

and its failure to employ reasonable and appropriate measures to protect against




15 Ritchie, J. N. & A., & Jayanti, S.F.-T. and A. (2022, April 26). Protecting personal

information: A guide for business. Federal Trade Commission.
https://www.ftc.gov/business-guidance/resources/protecting-personal-
information-guide-business (last accessed October 27, 2023).

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unauthorized access to consumer PII constitutes an unfair act or practice

prohibited by Section 5 of the FTCA, 15 U.S.C. § 45.

      51.     To prevent and detect cyber attacks, including the cyber attack on

Defendants network that resulted in the Data Breach, Defendants could and should

have implemented, as recommended by the United States Government and FTC,

the following measures:

            a. Implement an awareness and training program. Because end

              users are targets, employees and individuals should be aware of

              the threat of malware and how it is delivered;

            b. Enable strong spam filters to prevent phishing emails from

              reaching the end users and authenticate inbound email using

              technologies like Sender Policy Framework (SPF), Domain

              Message      Authentication        Reporting   and   Conformance

              (DMARC), and DomainKeys Identified Mail (DKIM) to prevent

              email spoofing;

            c. Scan all incoming and outgoing emails to detect threats and

              filter executable files from reaching end users;

            d. Configure firewalls to block access to known malicious IP

              addresses;

            e. Patch operating systems, software, and firmware on devices

              using a centralized patch management system;




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        f. Set anti-virus and anti-malware programs to automatically

           conduct regular scans and/or repairs;

        g. Create and manage the use of privileged accounts based on the

           varying level of accessibility using a principle of least privilege:

           wherein no users should be assigned administrative access

           unless absolutely needed; and those with a need for

           administrator accounts should only use them when necessary,

           such as any internal IT employees;

        h. Configure access controls—including file, directory, and

           network share permissions— with least privilege in mind. If a

           user only needs to read specific files, the user should not have

           write access to those files, directories, or shares;

        i. Disable macro scripts from Microsoft Office files transmitted

           via email. Consider using Office Viewer software to open

           Microsoft Office files transmitted via email instead of full office

           suite applications;

        j. Implement Software Restriction Policies (SRP) or other

           controls to prevent programs from executing from common

           malware locations, such as temporary folders supporting

           popular Internet browsers or compression/decompression

           programs, including the AppData/LocalAppData folder;




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            k. Consider disabling Remote Desktop protocol (RDP) if it is not

               being used;

            l. Use application whitelisting, which only allows systems to

               execute programs known and permitted by security policy;

            m. Execute operating system environments or specific programs in

               a virtualized environment; and

            n. Categorize data based on organizational value and implement

               physical and logical separation of networks and data for

               different organizational units.

      52.      Defendants were at all times fully aware of its obligation to protect the

PII of customers, prospective customers and employees. Defendants were also

aware of the significant repercussions that would result from its failure to do so.

      Defendants Failed to Comply with Industry Standards

      53.      A number of industry and national best practices have been published

and should have been used as a go-to resource and authoritative guide when

developing Defendants’ cybersecurity practices. Best cybersecurity practices that

are standard in the financial services industry include installing appropriate

malware detection software; monitoring and limiting the network ports; protecting

web browsers and email management systems; setting up network systems such as

firewalls, switches and routers; monitoring and protection of physical security

systems; protection against any possible communication system; and training staff

regarding critical points.


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      54.   Upon information and belief, Defendants failed to meet the minimum

standards of the following cybersecurity frameworks: the NIST Cybersecurity

Framework Version 1.1 (including without limitation PR.AC-1, PR.AC-3, PR.AC-4,

PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3,

DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are established

standards in reasonable cybersecurity readiness. These frameworks are existing

and applicable industry standards in Defendants’ industry, and Defendants failed

to comply with these accepted standards, thereby opening the door to the cyber-

attack and causing the Data Breach.

      55.   The occurrence of the Data Breach is indicative that Defendants failed

to adequately implement one or more of the above measures to prevent or

circumvent ransomware attacks or other forms of malicious cybercrimes, resulting

in the Data Breach.

      Plaintiff’s Experience

      56.   Plaintiff provided Defendants and/or their agents with his PII,

including Social Security number, as a condition of receiving mortgage services.

      57.   Plaintiff expected that Defendants would take industry-standard

precautions to protect, maintain, and safeguard his PII. Plaintiff would not have

allowed Defendants to collect and maintain his PII had he known that Defendants

would not take reasonable steps to safeguard his PII.




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      58.    On or around November 22, 2023, Plaintiff Grigg accessed attempted

to access his mortgage account and saw the following message:

      LoanCare’s ability to service your mortgage loan has been impacted
      by a Cybersecurity Incident. Websites at domain myloancare.com are
      currently offline, however our call center is available. We are working
      diligently to resolve the issue as quickly and safely as possible. In the
      meantime, no late charges will be incurred and there will be no
      negative credit reporting due to the outage. We will let you know as
      soon as we’re back online.

      59.    As a result, Plaintiff was unable to pay his mortgage.

      60.    Plaintiff is also unable to pay his county taxes, which are escrowed and

no longer available as a result of the Data Breach.

      61.    Plaintiff has suffered actual injury and is at imminent, impending, and

substantial risk for additional tangible and intangible harm as a result of the Data

Breach. Plaintiff’s injuries include, but are not limited to: a loss of privacy similar

to that caused by a disclosure of private facts or intrusion upon seclusion; lost time

value of funds that are inaccessible due to the Data Breach; time and effort spent

attempting to mitigate the risk of harm from the Data Breach; lost benefit of

bargain; diminished value of PII; and emotional distress proportional to the

substantial risk of harm that he faces.

      62.    As a result of the Data Breach, Plaintiff is presently and will continue

to be at a present and heightened risk for financial fraud, identity theft, other forms

of fraud, and the attendant damages, for the rest of his life.




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      63.   Plaintiff has a continuing interest in ensuring that his PII which, upon

information and belief, remains in the possession of Defendants, is protected and

safeguarded from future data breaches.

                       CLASS ACTION ALLEGATIONS

      64.   Plaintiff brings this nationwide class action according to Federal

Rules of Civil Procedure, Rules 23(b)(2), 23(b)(3), and 23(c)(4).

      65.   The nationwide Class that Plaintiff seeks to represent is defined as

follows:

      All persons residing in the United States whose PII was compromised
      during the Data Breach that occurred on or about November 19, 2023
      (the “Class”).

      66.   Excluded from the Class are: (i) Defendants and its employees,

officers, directors, affiliates, parents, subsidiaries, and any entity in which

Defendants have a whole or partial ownership of financial interest; (ii) all

individuals who make a timely election to be excluded from this proceeding using

the correct protocol for opting out; (iii) any counsel and their respective staff

appearing in this matter; and (iv) all judges assigned to hear any aspect of this

litigation, their immediate family members, and their respective court staff.

      67.   Plaintiff reserves the right to modify or amend the definitions of the

proposed Class before the Court determines whether certification is appropriate.

      68.   Numerosity. The Class is so numerous that joinder of all members

is impracticable. The Class includes thousands of individuals whose personal data

was compromised by the Data Breach. The exact number of Class members is in


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the possession and control of Defendants and will be ascertainable through

discovery, but upon information and belief, there are more than one million

similarly situated Class Members.

      69.   Commonality.        There are numerous questions of law and fact

common to Plaintiff and the Class that predominate over any questions that may

affect only individual Class members, including, without limitation:

         a. Whether Defendants unlawfully maintained, lost or disclosed

            Plaintiff’s and the Class’s PII;

         b. Whether Defendants failed to implement and maintain reasonable

            security procedures and practices appropriate to the nature and

            scope of the information compromised in the Data Breach;

         c. Whether Defendants’ data security systems prior to and during the

            Data Breach complied with applicable data security laws and

            regulations;

         d. Whether Defendants’ data security systems prior to and during the

            Data Breach were consistent with industry standards;

         e. Whether Defendants owed a duty to Class to safeguard their PII;

         f. Whether Defendants breached duties to Class to safeguard their PII;

         g. Whether cyber criminals obtained Class’s PII in the Data Breach;

         h. Whether Defendants knew or should have known that its data

            security systems and monitoring processes were deficient;




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            i. Whether Plaintiff and Class suffered legally cognizable damages as a

               result of Defendants’ misconduct;

            j. Whether Defendants’ conduct was negligent;

            k. Whether Defendants’ conduct violated federal law;

            l. Whether Defendants’ conduct violated state law; and

            m. Whether Plaintiff and Class are entitled to damages, civil penalties,

               punitive damages, and/or injunctive relief.

      70.      Typicality. Plaintiff’s claims are atypical of the claims of the Class in

that Plaintiff, like all proposed Class members, had his PII compromised,

breached, or otherwise stolen in the Data Breach. Plaintiff and the Class were

injured through the uniform misconduct of Defendant, described throughout this

Complaint, and assert the same claims for relief.

      71.      Adequacy. Plaintiff and counsel will fairly and adequately protect

the interests of Plaintiff and the proposed Class. Plaintiff retained counsel who are

experienced in Class action and complex litigation, particularly those involving

Data Breach as is at issue in this class action complaint. Plaintiff has no interests

that are antagonistic to, or in conflict with, the interests of other Class members.

      72.      Superiority. A class action is superior to other available methods for

the fair and efficient adjudication of this controversy. Class treatment of common

questions of law and fact is superior to multiple individual actions or piecemeal

litigation. Moreover, absent a class action, most Class members would find the

cost of litigating their claims prohibitively high and would therefore have no


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effective remedy, so that in the absence of class treatment, Defendants’ violations

of law inflicting substantial damages in the aggregate would go unremedied

without certification of the Class. Plaintiff and the Class have been harmed by

Defendants’ wrongful conduct and/or action. Litigating this action as a class

action will reduce the possibility of repetitious litigation relating to Defendants’

conduct and/or inaction.      Plaintiff knows of no difficulties that would be

encountered in this litigation that would preclude its maintenance as a class action.

      73.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(1)(A), in

that the prosecution of separate actions by the individual Class members would

create a risk of inconsistent or varying adjudications with respect to individual

members of the Class, which would establish incompatible standards of conduct

for Defendants. In contrast, the conduct of this action as a class action conserves

judicial resources and the parties’ resources and protects the rights of each

member of the Class. Specifically, injunctive relief could be entered in multiple

cases, but the ordered relief may vary, causing Defendants to have to choose

between differing means of upgrading its data security infrastructure and choosing

the court order with which to comply. Class action status is also warranted because

prosecution of separate actions by Class members would create the risk of

adjudications with respect to individual Class members that, as a practical matter,

would be dispositive of the interests of other members not parties to this action, or

that would substantially impair or impede their ability to protect their interests.




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      74.      Class certification, therefore, is appropriate under Rule 23(a) and

(b)(2) because Defendants have acted or refused to act on grounds generally

applicable to the Class, so that final injunctive relief or corresponding declaratory

relief is appropriate as to the Class as a whole.

      75.      Likewise, particular issues under Rule 23(c)(4) are appropriate for

certification because such claims present only particular, common issues, the

resolution of which would advance the disposition of this matter and the parties’

interests therein. Such particular issues include, but are not limited to:

            a. Whether Defendants owed its legal duty or obligation to

               Plaintiff and the Class to exercise due care in collecting, storing,

               using, safeguarding, or otherwise maintaining their PII;

            b. Whether Defendants breached their legal duty to Plaintiff and

               the Class to exercise due care in collecting, storing, using,

               safeguarding, or otherwise maintaining their PII;

            c. Whether Defendants failed to comply with its own policies or

               procedures and applicable laws, regulations, and industry

               standards relating to data security;

            d. Whether Defendants failed to implement and maintain

               reasonable security procedures and practices appropriate to the

               nature and scope of the information compromised in the Data

               Breach; and




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            e. Whether Plaintiff and the Class are entitled to actual damages,

               credit monitoring or other injunctive relief, and/or punitive

               damages as a result of Defendants’ wrongful conduct.

                               CAUSES OF ACTION

                                    COUNT I
                                   Negligence
                      (On behalf of Plaintiff and the Class)
      76.      Plaintiff and the Class re-allege and incorporate paragraphs 1-75.

      77.      Plaintiff and the Class entrusted Defendants with their PII.

      78.      Plaintiff and the Class entrusted their PII to Defendants on the

premise and with the understanding that Defendants would safeguard their

information, use their PII for business purposes only, and not disclose their PII to

unauthorized third parties.

      79.      Defendants owed a duty to Plaintiff and the Class to exercise

reasonable care in obtaining, using, maintaining and protecting their PII from

unauthorized third parties.

      80.      The legal duties owed by Defendants to Plaintiff and the Class include,

but are not limited to the following:

               a.    To exercise reasonable care in procuring, retaining,

                     securing, safeguarding, deleting, and protecting the PII

                     of Plaintiff and the Class in Defendants possession;

               b.    To protect PII of Plaintiff and the Class in Defendants

                     possession using reasonable and adequate security



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                   procedures that are compliant with industry-standard

                   practices; and

             c.    To implement processes and software to quickly detect a

                   data breach and to timely act on warnings about data

                   breaches, including promptly notifying Plaintiff and

                   Class of the Data Breach.

       81.   Defendants’ duty to use reasonable data security measures also arose

under Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45(a) (the “FTC

Act”), which prohibits “unfair . . . practices in or affecting commerce,” including,

as interested and enforced by the Federal Trade Commission, the unfair practices

by companies such as Defendants of failing to use reasonable measures to protect

PII.

       82.   Various FTC publications and data security breach orders further

form the basis of Defendants’ duty. Plaintiff and Class are consumers under the

FTC Act. Defendants violated Section 5 of the FTC Act by failing to use reasonable

measures to protect PII and by not complying with industry standards.

       83.   Defendants breached their duties to Plaintiff and the Class.

Defendants knew or should have known the risks of collecting and storing PII and

the importance of maintaining secure systems, especially in light of the fact that

data breaches have recently been prevalent.

       84.   Defendants knew or should have known that its security practices did

not adequately safeguard the PII of Plaintiff and the Class.


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      85.      Through Defendants’ acts and omissions described in this Complaint,

including Defendants’ failure to provide adequate security measures and its failure

to protect the PII of Plaintiff and the Class from being foreseeably captured,

accessed, exfiltrated, stolen, disclosed, and misused, Defendants unlawfully

breached their duty to use reasonable care to adequately protect and secure the PII

of Plaintiff and the Class during the period it was within Defendants’ possession

and control.

      86.      Defendants were subject to an “independent duty,” untethered to any

contract between Defendants and Plaintiff and the class.

      87.      Defendants’ own conduct created a foreseeable risk of harm to an

individual, including Plaintiff and the Class. Defendants’ misconduct included, but

was not limited to, their failure to take the steps and opportunities to prevent the

Data Breach as set forth herein. Defendants’ misconduct also included their

decisions not to comply with industry standards for safekeeping of the PII of

Plaintiff and the Class, including basic encryption techniques freely available to

Defendants.

      88.      Defendants were in a position to protect against the harm suffered by

Plaintiff and the Class as a result of the Data Breach.

      89.      Defendants had a duty to employ proper procedures to prevent the

unauthorized dissemination of the PII of Plaintiff and the Class.

      90.      Defendants breached their duties it owes to Plaintiff and Class in

several ways, including:


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             a.    Failing to implement adequate security systems,

                   protocols, and practices sufficient to protect employees’

                   and customers’ PII and thereby creating a foreseeable

                   risk of harm;

             b.    Failing to comply with the minimum industry data

                   security standards during the period of the Data Breach;

             c.    Failing to act despite knowing or having reason to know

                   that its systems were vulnerable to attack; and

      91.    There is a close causal connection between Defendants’ failure to

implement security measures to protect the PII of Plaintiff and Class and the harm,

or risk of imminent harm, suffered by Plaintiff and the Class. The PII of Plaintiff

and the Class was stolen and accessed as the proximate result of Defendants’

failure to exercise reasonable care in safeguarding such PII by adopting,

implementing, and maintaining appropriate security measures.

      92.    Due to Defendants’ misconduct, Plaintiff and the Class are entitled to

credit monitoring at a minimum. The PII taken in the Data Breach can be used for

identity theft and other types of financial fraud against Plaintiff and the Class.

      93.    Some experts recommend that data breach victims obtain credit

monitoring services for at least ten years following a data breach. Annual

subscriptions for credit monitoring plans range from approximately $219 to $358

per year.




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      94.         As a result of Defendants’ negligence, Plaintiff and Class suffered

injuries that include:

              i.     the lost or diminished value of PII;

            ii.      out-of-pocket expenses associated with the prevention, detection,

                     and recovery from identity theft, tax fraud, and/or unauthorized

                     use of their PII;

            iii.     lost opportunity costs associated with attempting to mitigate the

                     actual consequences of the Data Breach, including, but not limited

                     to, time spent deleting phishing email messages and cancelling

                     credit cards believed to be associated with the compromised

                     account;

            iv.      the continued risk to their PII, which may remain for sale on the

                     dark web and is in Defendants’ possession and subject to further

                     unauthorized disclosures so long as Defendants fail to undertake

                     appropriate and adequate measures to protect the PII in their

                     continued possession;

             v.      future costs in terms of time, effort, and money that will be

                     expended to prevent, monitor, detect, contest, and repair the

                     impact of the Data Breach for the remainder of the lives of Plaintiff

                     and Class, including ongoing credit monitoring.

      95.         These injuries were reasonably foreseeable given the history and

uptick of data security breaches of this nature within the financial sector. The


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injury and harm that Plaintiff and the Class suffered was the direct and proximate

result of Defendants’ negligent conduct.

                                 COUNT II
                           Unjust Enrichment
                    (On behalf of Plaintiff and the Class)
      96.    Plaintiff and the Class re-allege and incorporate paragraphs 1-95.

      97.    Plaintiff and the Class conferred a monetary benefit to Defendants by

providing Defendants with their valuable PII, which Defendants knowingly used

or retained in the course of its business.

      98.    Defendants benefited from receiving Plaintiff’s and the Class

members’ PII by its ability to retain and use that information for its own financial

business benefit. Defendants understood this benefit and accepted the benefit

knowingly.

      99.    Defendants also understood and appreciated that the PII of Plaintiff

and the Class was private and confidential to them, and that its value depended

upon Defendants maintaining the privacy and confidentiality of that PII.

      100. Plaintiff and the Class conferred a monetary benefit upon Defendants

in the form of monies paid to Defendants for services.

      101.   The monies paid to Defendants for services involving Plaintiff and the

Class PII were to be used by Defendants, in part, to pay for the administrative costs

of reasonable data privacy and security practices and procedures.




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      102. Defendants also understood that Plaintiff’s and the Class’s PII was

private and confidential, and its value depended upon Defendants maintaining the

privacy and confidentiality of that PII.

      103. Instead of providing a reasonable level of security that would have

prevented the Data Breach, Defendants instead calculated to avoid their data

security obligations at the expense of Plaintiff and the Class by utilizing cheaper,

ineffective security measures. Plaintiff and the Class, on the other hand, suffered a

direct and proximate result of Defendants’ failure to provide the requisite security.

      104. But for Defendants’ willingness and commitment to maintain privacy

and confidentiality, that PII would not have been transferred to and entrusted with

Defendants. Indeed, if Defendants had informed its customers that Defendants’

data and cyber security measures were inadequate, Defendants would not have

been permitted to continue to operate in that fashion by regulators, its

shareholders, and its consumers.

      105. As a result of Defendants’ wrongful conduct, Defendants have been

unjustly enriched at the expense of, and to the detriment of, Plaintiff and the Class.

Defendants continue to benefit and profit from their retention and use of the PII

while its value to Plaintiff and the Class has been diminished.

      106. Defendants’ unjust enrichment is traceable to, and resulted directly

and proximately from, the conduct alleged in this complaint, including compiling,

using, and retaining Plaintiff and the Class’s PII, while at the same time failing to




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maintain that information securely from intrusion and theft by cyber criminals,

hackers and identity thieves.

      107. Plaintiff and the Class have no adequate remedy at law.

      108. Under principals of equity and good conscience, Defendants should not

be permitted to retain the money belonging to Plaintiff and the Class because

Defendants failed to implement (or adequately implement) the data privacy and

security practices and procedures that Plaintiff and the Class paid for and that were

otherwise mandated by federal, state, and local laws and industry standards.

      109. Defendants acquired the monetary benefit and PII through inequitable

means in that they failed to disclose the inadequate security practices previously

alleged.

      110.   As a direct and proximate result of Defendants’ conduct, Plaintiff and

the Class have suffered and will continue to suffer other forms of injury and/or

harm. Defendants should be completed to disgorge into a common fund or

constructive trust, for the benefit of Plaintiff and the Class, proceeds that they

unjustly received from them.

      111.   As a direct and proximate result of Defendants’ above-described breach

of implied contract, Plaintiff and the Class have suffered, and will continue to suffer,

ongoing, imminent, and impending threat of identity theft crimes, fraud, and abuse,

resulting in monetary loss an economic harm; actual identify theft crimes, fraud,

and abuse resulting in monetary loss and economic harm; loss of the confidentiality

of the stolen confidential data; the illegal sale of the compromised data on the dark


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web; expenses and/or time spent on credit monitoring and identity theft insurance;

time spent scrutinizing bank statements, credit card statements, and credit reports;

expenses and/or time spent initiating fraud alerts, decreased credit scores and

ratings; lost work time; and other economic time that the Plaintiff and Class have

not been compensated for.

        112.   As a direct and proximate result of Defendants’ conduct, Plaintiff and

the Class have suffered and will continue to suffer other forms of injury and/or

harm.

                                   COUNT III
                          Breach of Implied Contract
                      (On Behalf of Plaintiff and the Class)

        113.   Plaintiff and the Class re-alleges and incorporates paragraphs 1-112.

        114.   Plaintiff and the Class entrusted their PII with Defendants. In doing so,

Plaintiff and the Class entered into implied contracts with Defendants by which

Defendants agreed to safeguard and protect such information, to keep such

information secure and confidential, and to timely and accurately notify Plaintiff

and the Class if their data had been breached, compromised, or stolen.

        115.   Plaintiff and the Class fully performed their obligations under the

implied contracts with Defendants.

        116.   Defendants breached the implied contract with Plaintiff and the Class

by failing to safeguard and protect their PII and/or by failing to delete the PII of

Plaintiff and the Class Members once their relationship ended.




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      117.   As a direct and proximate result of Defendants’ above-described breach

of implied contract, Plaintiff and the Class have suffered, and will continue to suffer,

ongoing, imminent, and impending threat of identity theft crimes, fraud, and abuse,

resulting in monetary loss an economic harm; actual identify theft crimes, fraud,

and abuse resulting in monetary loss and economic harm; loss of the confidentiality

of the stolen confidential data; the illegal sale of the compromised data on the dark

web; expenses and/or time spent on credit monitoring and identity theft insurance;

time spent scrutinizing bank statements, credit card statements, and credit reports;

expenses and/or time spent initiating fraud alerts, decreased credit scores and

ratings; lost work time; and other economic time that the Plaintiff and Class have

not been compensated for.

      118.   As a direct and proximate result of the Defendants’ above-described

breach of implied contract, Plaintiff and the Class are entitled to recover actual,

consequential, and nominal damages.

                                COUNT IV
                Declaratory Judgment and Injunctive Relief
                   (On behalf of Plaintiff and the Class)
      119.   Plaintiff and the Class re-allege and incorporate paragraphs 1-118.

      120. Under the Declaratory Judgment Act, 28 U.S.C. §2201, et seq., the

Court is authorized to enter a judgment declaring the rights and legal relations of

the parties and grant further necessary relief. Furthermore, the Court has broad

authority to restrain acts, such as here, that are tortious and violate the terms of

the federal and state statutes described in this Complaint.



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      212.   An actual controversy has arisen in the wake of the Data Breach

regarding Defendants’ present and prospective common law and other duties to

reasonably safeguard consumers’ PII, and whether Defendants are currently

maintaining data security measures adequate to protect Plaintiff and Class

Members from further data breaches that compromise their PII. Plaintiffs

and Class Members remain at imminent risk that further compromises of their

PII will occur in the future. This is true even if they are not actively using

Defendants’ products or services.

      121.   Plaintiff, therefore, seeks a declaration that Defendants’ existing

security measures do not comply with their explicit or implicit contractual

obligations and duties of care to provide reasonable security procedures and

practices appropriate to the nature of the information to protect customers’

personal information, and prospective injunctive relief requiring Defendants to

comply with their explicit or implicit obligations and duties of care, including, but

not limited to:

             a.    Engaging    third-party    security   auditors/penetration

                   testers as well as internal security personnel to conduct

                   testing, including simulated attacks, penetration tests,

                   and audits on Defendants’ systems on a periodic basis,

                   and ordering Defendants to promptly correct any

                   problems or issues detected by such third-party security

                   auditors;


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            b.     Engaging third-party security auditors and internal

                   personnel to run automated security monitoring;

            c.     Auditing, testing, and training its security personnel

                   regarding any new or modified procedures;

            d.     Segmenting its user applications by, among other things,

                   creating firewalls and access controls so that if one area

                   is compromised, hackers cannot gain access to other

                   portions of Defendants’ systems;

            e.     Conducting regular database scanning and security

                   checks;

            f.     Routinely and continually conducting internal training

                   and education to inform internal security personnel how

                   to identify and contain a breach when it occurs and what

                   to do in response to a breach;

            g.     Purchasing credit monitoring services for Plaintiff and

                   the Class for a period of ten years; and

            h.     Meaningfully educating Plaintiff and the Class about the

                   threats they face as a result of the loss of their PII to third

                   parties, as well as the steps they must take to protect

                   themselves.

      122. If an injunction is not issued, Plaintiff and Class Members will suffer

irreparable injury, and lack an adequate legal remedy, in the event of another data


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breach of Defendants. The risk of another such breach is real, immediate, and

substantial. If another breach occurs, Plaintiff and Class Members will not have

an adequate remedy at law because many of the resulting injuries are not readily

quantified and they will be forced to bring multiple lawsuits to rectify the same

conduct.

      123. The hardship to Plaintiff and Class Members if an injunction does

not issue exceeds the hardship to Defendants if an injunction does issue. Among

other things, if another data breach occurs to Defendants, Plaintiff and Class

Members will likely be subjected to fraud, identity theft, and other harms

described herein. On the other hand, the cost to Defendants of complying with an

injunction by employing reasonable prospective data security measures is

relatively minimal, and Defendants have a pre-existing legal obligation to employ

such measures.

      124. Issuance of the requested injunction will not disserve the public

interest. To the contrary, such an injunction would benefit the public by

preventing another data breach to Defendants, thus eliminating additional injuries

that would result to Plaintiff and Class Members whose PII would be further

compromised.

                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, on behalf of himself and all others similarly

situated, requests judgment against Defendants and that the Court grant the

following:


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     1.    For an order certifying the Class and appointing Plaintiff and his

           counsel to represent the Class;

     2.    For a declaration that Defendants’ existing security measures do not

           comply with their explicit or implicit contractual obligations and

           duties of care to provide reasonable security procedures and practices

           appropriate to the nature of the information to protect customers’

           personal information

     3.    For an order enjoining Defendants from engaging in the wrongful

           conduct alleged herein concerning disclosure and inadequate

           protection of the PII belonging to Plaintiff and the Class;

     4.    For injunctive relief requiring Defendants to:

           a.     Engage third-party security auditors/penetration testers

                  as well as internal security personnel to conduct testing,

                  including simulated attacks, penetration tests, and

                  audits on Defendant’s systems on a periodic basis, and

                  ordering Defendants to promptly correct any problems

                  or issues detected by such third-party security auditors;

           b.     Engage third-party security auditors and internal

                  personnel to run automated security monitoring;

           c.     Audit, test, and train its security personnel regarding

                  any new or modified procedures;




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           d.     Segment their user applications by, among other things,

                  creating firewalls and access controls so that if one area

                  is compromised, hackers cannot gain access to other

                  portions of Defendants’ systems;

           e.     Conduct regular database scanning and security checks;

           f.     Routinely and continually conduct internal training and

                  education to inform internal security personnel how to

                  identify and contain a breach when it occurs and what to

                  do in response to a breach;

           g.     Purchase credit monitoring services for Plaintiff and the

                  Class for a period of ten years; and

           h.     Meaningfully educate Plaintiff and the Class about the

                  threats they face as a result of the loss of their PII to third

                  parties, as well as the steps they must take to protect

                  themselves.

     5.    An order instructing Defendants to purchase or provide funds for

           credit monitoring services for Plaintiff and all Class members;

     6.    An award of compensatory, statutory, nominal and punitive damages,

           in an amount to be determined at trial;

     7.    An award for equitable relief requiring restitution and disgorgement

           of the revenues wrongfully retained as a result of Defendants’

           wrongful conduct;


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     8.    An award of reasonable attorneys’ fees, costs, and litigation expenses,

           as allowable by law; and

     9.    Any and all such other and further relief as this Court may deem just

           and proper.

                         DEMAND FOR JURY TRIAL

     Plaintiff hereby demands this matter be tried before a jury.

Dated: December 27, 2023         Respectfully submitted,

                                 /s/ Jonathan B. Cohen_________
                                 Jonathan B. Cohen (FL Bar # 27620)
                                 Lead Counsel
                                 MILBERG COLEMAN BRYSON
                                 PHILLIPS GROSSMAN, PLLC
                                 3833 Central Ave.
                                 St. Petersburg, FL 33713
                                 Phone: 813-699-4056
                                 Email: jcohen@milberg.com
                                 jcohen@milberg.com

                                 Spencer D. Campbell *
                                 MARKOVITS, STOCK & DEMARCO, LLC
                                 119 East Court Street, Suite 530
                                 Cincinnati, OH 45202
                                 Telephone: (513) 651-3700
                                 Fax: (513) 665-0219
                                 scampbell@msdlegal.com

                                 Attorneys for Plaintiff and Putative Class
                                 * Motion for Special Admission forthcoming




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